                        Case 1:19-cv-00967-JL Document 1 Filed 09/13/19 Page 1 of 5
X.

                                                 UNITED STATES DISTRICT COURT
                                                  DISTRICT OF NEW HAMPSHIRE




                                                                               22iS SEP i 3 P 2: 3^



     PIaintiff(s)

                                                                                    COMPLAINT
     I\Joktu
     57ATe of^Go
        4N0 I>v\V\ "S                            K>"0
        /^fVv
     Defendant(s)


                                                        Parties to this Complaint

     Plaintiff(s)'s Name, A^idress and Phone
     —(AiiJ^Teo—
        TOTED^^                              -   ^ f\jttue^exc^—
                                 \ ^ ^"^OCyOLjS ^ N-/
            q                                             1^1 ■ ^ c,                            ^
                                       t                o^h:v
     Defendant(s)'s     Name, Address
          irlortt/'o^'c "Wam#^ AHHi*#»cc and
                                         cinH Phone     Number
                                              PVir\n<=k Xriiml-\tar                                   ^


                        ^sjoi^t-h |—                                      -pty
                                              oT

                                                        A MO


                                           OAM
                    j                                    ^
                '5'^^ C_


                                                                      t l^ti
     USDCNH-102(Rev. 5/7/13)                                      Page 1 of5
                Case 1:19-cv-00967-JL Document 1 Filed 09/13/19 Page 2 of 5


                                              Jurisdiction and Venue:
             (Explain why your case is being filed in federal court and why the court is legally
                      permitted to hear your case. Add additional sheets as necessary.)
                                vVy iIVC41            I XV«>V4   A vivy A IM'l hJIAVWiNA    A A W W^   VA'A.^ « y



                                                                                                                         5




      1^(5                         C>4'^ Acjc
            Y                                        SiA^percCcO"                                       ^                    )
        ^ ^epO^X 0C> CRvryV£:S                                                             IQ                       MD   5
  Ao^t7t-e^ TO Tn^ cxrst^ A, pe^c> oT l:^A^ ,
                          To /^eXv\/)U€:^ ^                                                                              ^
                                               c>i ' Th£: fpcbC
  /\,^|0 oO^tslU^                                                                                               ^
                                             h^C>X                                         fO

   ^ 'bcrT\> -*bcn-i                                                                 'OGfNi "tl
   i^evCN<j£0                  to             Tl(,^                                        . r C<Sl-b€r
                 Oo-ii£^tt(Jp) ^c^e^^vcJ^JG *9
  c)tli>eo           lt)O(A.G0                ooirqpu^T
    n\i<,^ '"A£>£ipsic_v^^ Re^e'iceo ^ff>z.oK A.-V- uene^j.,
 oM v^,^^pf<'Ote«£>^'                                            ^ ^ > '^LCN LOL^-b
          rc>                                         0>T^Ui>Vi>A£K/rTO
 CortM^t^5A,T\c^rv:)
   J-        V
USDCNH-102(Rev. 5/7/13)   ^                           P4ge2of5
!/                 Case 1:19-cv-00967-JL Document 1 Filed 09/13/19 Page 3 of 5



                                                 Statement of Claim:
     (As briefly as possible, state each claim you have against defendant(s) and state the legal cause of action,
           facts, and circumstances that gave rise to your claim(s). Add additional sheets as necessary.)

                                                  (J^
                     ^                                                        APP^tC_A,T:tt>r^
                                             1 \^ Xc^CS^C.                              \tsjO
                                             {        OA                            rOc>l/)>2-L

                            r                        Dv\\lS (Jj)

                                                                         O             I_"b     ^



                                                                         0              ) S>£c^O V o r>l
     A)no                                 o>rV5piEg^
                                       loe^trd

     to ArJ                                           JL
     L30H\0\                                           V X
     u.iA.'a 5>©toe*:5 00|TV\ A peof6cCb\/0 o^o^O
                  V-
     AXo rsS G                         C>TH£R^                              ^4
                        ^            ^ (q'^V\, ^ 6tV^                         I^^T^ '^'M^KOrr>w£isf^

     AkJD                                  1t£KGw oe ^oUCE"                                     'Xtisr Aj.,
 USDCNH-102(Rev. 5/7/13)
                                                       i-
                                                      Page 3 of5                                 4*^0 GT ,
               Case 1:19-cv-00967-JL Document 1 Filed 09/13/19 Page 4 of 5



                                     Relief Requested from the Court:
      (Briefly
            ly state exactly what you waqt
                                      war^t the Court to do for
                                                            tor you. Add additional sheet&as
                                                                                    sheets.as nece
                                                                                              necessary.)




                  Cq^/v^                                                                            r^--.
Ge




(               'X^i-Aj-KE-ix-iKx.^ icoeeAv^ V^^ocSio'Ni
     e)RJ>€K. YZ^Si\f\                              'A'^ ^
     Cot^r/Ticj:                   H^CLrvv^                                              ]A:(|4 -5
                    3^~\rh                                                                      .

                                  l^4oS5rl G/^TioA 'o-h
      m/^os                     A.-^ <L,                                           ^Kjo
                    nk>^i.          ^                                      /

     NJl7\-t>AH^ /                                             I i^<='Uur
     nJ ^                               vdCLi^^ ~                                   t6
     M o.£jV(                                                  ,^fQ>a, to
    I^ve5^,t,^r€                              /l6<PeMo                                        'j^efoRr
    ^ Ca5/\<,                             UpOkJ                                                             b


                                  CDA^S:Ki5^TL6Aj <1
    4tH
                                                     ^ 3c>')>                                                   \
                                                                        I jA) SxK'Ai's fc_ 4fN/' KE
USDCNH-102(Rev. 5/7/13)                           Page 4 of5
                  Case 1:19-cv-00967-JL Document 1 Filed 09/13/19 Page 5 of 5



                                    ^/Scah' x Jut Demand
\^^"6neek4ms box if you arc rcquosttTSg ajury Uial (if you wafrt-a-}ttfy of your peers te-decide your case)?
^Check this box if you are NOT requesting a jury trial (if you want the assigned judge to decide your case).


 Date:


 Signature:




 USDCNH-102(Rev. 5/7/13)                            Page 5 of5
